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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


    OMNIVISION TECHNOLOGIES, INC.,
                                                      C.A. No.: 24-187-JLH-CJB
                              Plaintiff,
                        v.

    RE SECURED NETWORKS, LLC,
                                                      JURY TRIAL DEMANDED
                              Defendant.


                                 PROPOSED SCHEDULING ORDER

           This        day of ______________, 2024, the Court having conducted an initial Rule 16

  scheduling and planning conference pursuant to Federal Rule of Civil Procedure 16(b) and Local

  Rule 16.1 on _____________, 2024, and the parties Omnivision Technologies, Inc.

  (“Omnivision”) and RE Secured Networks, LLC (“RE Secured”) having determined after

  discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,

  or binding arbitration;

           IT IS ORDERED that:

           1.        Rule 26(a)(1) Initial Disclosures and E-Discovery Default Standard. Unless

  otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

  Federal Rule of Civil Procedure 26(a)(1) and Paragraph 3 of the E-Discovery Default Standard

  within thirty (30) days of the date of this Order. If they have not already done so, the parties are

  to review the Court’s Default Standard for Discovery, Including Discovery of Electronically

  Stored Information (“ESI”), which is posted on Magistrate Judge Burke’s section of the Court’s

  website (http://www.ded.uscourts.gov) under the “Guidelines” tab, and is incorporated herein by

  reference.




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           2.        Joinder of Other Parties and Amendment of Pleadings. All motions to join

  other parties, and to amend or supplement the pleadings shall be filed on or before January 10,

  2025.

           3.        Application to Court for Protective Order. Should counsel find it will be

  necessary to apply to the Court for a protective order specifying terms and conditions for the

  disclosure of confidential information, counsel should confer and attempt to reach an agreement

  on a proposed form of order and file it with the Court within fourteen (14) days from the date of

  this Order. Should counsel be unable to reach an agreement on a proposed form of order, counsel

  must follow the provisions of Paragraph 7(g) below.

           Any proposed protective order must include the following paragraph:

                     Other Proceedings. By entering this order and limiting the disclosure of information
                     in this case, the Court does not intend to preclude another court from finding that
                     information may be relevant and subject to disclosure in another case. Any person
                     or party subject to this order who becomes subject to a motion to disclose another
                     party’s information designated “confidential” [the parties should list any other level
                     of designation, such as “highly confidential,” which may be provided for in the
                     protective order] pursuant to this order shall promptly notify that party of the
                     motion so that the party may have an opportunity to appear and be heard on whether
                     that information should be disclosed.

           4.        Papers Filed Under Seal. When filing papers under seal, counsel shall follow the

  District Court’s policy on Filing Sealed Civil Documents in CM/ECF and section G of the

  Administrative Procedures Governing Filing and Service by Electronic Means. A redacted version

  of any sealed document shall be filed electronically within seven (7) days of the filing of the sealed

  document.

           Should any party intend to request to seal or redact all or any portion of a transcript of a

  court proceeding (including a teleconference), such party should expressly note that intent at the

  start of the court proceeding. Should the party subsequently choose to make a request for sealing

  or redaction, it must, promptly after the completion of the transcript, file with the Court a motion
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  for sealing/redaction, and include as attachments: (1) a copy of the complete transcript highlighted

  so the Court can easily identify and read the text proposed to be sealed/redacted; and

  (2) a copy of the proposed redacted/sealed transcript. With its request, the party seeking redactions

  must demonstrate why there is good cause for the redactions and why disclosure of the redacted

  material would work a clearly defined and serious injury to the party seeking redaction.

           5.        Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies

  of all briefs and any other document filed in support of any briefs (i.e., appendices, exhibits,

  declarations, affidavits, etc.). This provision also applies to papers filed under seal. Unless ordered

  differently by the Court, such copies must be provided to the Court by no later than noon the

  business day after the filing is made electronically.

           6.        Disclosures. Absent agreement among the parties, and approval of the Court:

                     (a)    If one or more of the patents-in-suit have already been licensed or the

  subject of a settlement agreement, RE Secured will file a request for a Court Order to provide the

  licenses and/or settlement agreements to Omnivision (to the extent such agreements are in RE

  Secured’s custody, possession, or control) no later than July 22, 2024. RE Secured represents that

  it is complying with this requirement.

                     (b)    By August 5, 2024, RE Secured shall identify the accused product(s),

  including accused methods and systems, and its damages model, as well as the asserted patent(s)

  that the accused product(s) allegedly infringe(s). RE Secured shall also produce the file history

  for each asserted patent.

                     (c)    By September 3, 2024, Omnivision shall produce core technical documents

  related to the accused product(s), sufficient to show how the accused product(s) work(s), including




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  but not limited to non-publicly available operation manuals, product literature, schematics, and

  specifications. Omnivision shall produce sales figures for the accused product(s).

                     (d)    By October 4, 2024, RE Secured shall produce an initial claim chart relating

  each known accused product to the asserted claims each such product allegedly infringes.

                     (e)    By November 5, 2024, Omnivision shall produce its initial invalidity

  contentions for each asserted claim, as well as the known related invalidating references.

                     (f)    By July 29, 2025, RE Secured shall provide final infringement contentions.

                     (g)    By August 26, 2025, Omnivision shall provide final invalidity contentions.

           7.        Discovery. Unless otherwise ordered by the Court, the limitations on discovery set

  forth in Local Rule 26.1 shall be strictly observed.

                     (a)    Discovery Cut Off. All fact discovery in this case shall be initiated so that

  it will be completed on or before September 30, 2025, and all expert discovery in this case,

  including depositions of experts, will be completed by January 23, 2026.

                     (b)    Document Production.          Document production shall be substantially

  complete by May 8, 2025.

                     (c)    Requests for Admission. A maximum of 30 requests for admission are

  permitted for each side regarding issues other than authentication, business records, and

  admissibility.

                     (d)    Interrogatories.

                            (i)    A    maximum      of    25   interrogatories,   including   contention

  interrogatories, are permitted for each side.

                            (ii)   The Court encourages the parties to serve and respond to contention

  interrogatories early in the case. In the absence of agreement among the parties, contention


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  interrogatories, if served, shall first be addressed by the party with the burden of proof. The

  adequacy of all interrogatory answers shall, in part, be judged by the level of detail each party

  provides; i.e., the more detail a party provides, the more detail a party shall receive.

                     (e)   Depositions.

                           (i)    Limitation on Hours for Deposition Discovery. Each side is limited

  to a total of 60 hours of taking testimony by deposition upon oral examination, excluding expert

  depositions but including third-party depositions. Fact witnesses may be deposed only once and

  for up to seven (7) hours on the record. For purposes of calculating deposition time, depositions

  conducted with the assistance of a translator will count at 70% of the elapsed time. To the extent

  any translated deposition goes beyond seven (7) hours on the record, the witness shall have the

  option to complete the remainder of the deposition on the following day.

                           (ii)   Location of Depositions.      Any party or representative (officer,

  director, or managing agent) of a party filing a civil action in this Court must ordinarily be required,

  upon request, to submit to a deposition at a place designated within this district. Exceptions to this

  general rule may be made by order of the Court, and the parties jointly request that the Court order

  that the parties may mutually agree to an alternative location for depositions, including remotely,

  for the convenience of both the witnesses and attorneys.              A defendant who becomes a

  counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an

  action in this Court for the purpose of this provision.

                     (f)   Disclosure of Expert Testimony.

                           (i)    Expert Reports. For the party who has the initial burden of proof on

  the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or

  before October 29, 2025. The supplemental disclosure to contradict or rebut evidence on the same


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  matter identified by another party is due on or before November 24, 2025. Reply expert reports

  from the party with the initial burden of proof are due on or before December 17, 2025. No other

  expert reports will be permitted without either the consent of all parties or leave of the Court.

  Along with the submissions of the expert reports, the parties shall advise of the dates and times of

  their experts’ availability for deposition.

                           (ii)    Expert Report Supplementation. The parties agree they will not

  permit expert declarations to be filed in connection with motions briefing (including case-

  dispositive motions). For the avoidance of doubt, the parties are permitted to file expert

  declarations in connection with claim construction briefing.

                           (iii)   Objections to Expert Testimony. To the extent any objection to

  expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm.,

  Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made by

  motion no later than the deadline for dispositive motions set forth herein, unless otherwise ordered

  by the Court. Briefing on such motions is subject to the page limits set out in connection with

  briefing of case dispositive motions.

                     (g)   Discovery Matters and Disputes Relating to Protective Orders.

                           (i)     Any discovery motion filed without first complying with the

  following procedures will be denied without prejudice to renew pursuant to these procedures.

                           (ii)    Should counsel find, after good faith efforts—including verbal

  communication among Delaware and Lead Counsel for all parties to the dispute—that they are

  unable to resolve a discovery matter or a dispute regarding a protective order (other than that

  involving the initial drafting of a protective order, which is discussed further below), the parties




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  involved in the discovery matter or protective order dispute shall file a joint letter in substantially

  the following form:

                                 Dear Judge Burke:

                                 The parties in the above-referenced matter write to request the
                                 scheduling of a discovery teleconference.

                                 The following attorneys, including at least one Delaware Counsel
                                 and at least one Lead Counsel per party, participated in a verbal
                                 meet-and-confer (in person and/or by telephone) on the following
                                 date(s):

                                 Delaware Counsel:

                                 Lead Counsel:

                                 The disputes requiring judicial attention are listed below:

                                 [provide here a non-argumentative list of disputes requiring judicial
                                 attention]

                         (iii)   The moving party (i.e., the party seeking relief from the Court)

  should also file a “Motion For Teleconference To Resolve Discovery Dispute.” The suggested

  text for this motion can be found in Judge Burke’s section of the Court’s website, in the “Forms”

  tab, under the heading “Discovery Matters - Motion to Resolve Discovery Dispute.”

                         (iv)    The Court will thereafter set a discovery dispute telephone

  conference and a briefing schedule. The movant’s opening letter brief shall include as attachments:

  (1) a proposed order, attached as an exhibit, setting out the nature of the relief requested of the

  Court; and (2) to the extent that the dispute relates to responses to certain discovery requests, an

  attached exhibit (or exhibits) containing the requests and the responses in dispute. To the extent

  that factual issues are disputed or are otherwise central to the Court’s analysis, the parties shall

  attach as an exhibit (or exhibits) to their letter briefs sworn declarations or affidavits regarding

  those issues. The parties should also consult and follow Judge Burke’s “Guidelines for Discovery


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  Disputes,” which is found in the “Guidelines” tab on Judge Burke’s section of the District Court’s

  website. The parties shall also comply with paragraph 5 regarding the submission of courtesy

  copies; if they fail to do so, the telephone conference may be cancelled.

                          (v)     Should the Court find further briefing necessary upon the conclusion

  of the telephone conference, the Court will order it. Alternatively, the Court may choose to resolve

  the dispute prior to the telephone conference and will, in that event, cancel the conference.

                          (vi)    Should counsel find, after good faith efforts—including verbal

  communication among Delaware and Lead Counsel for all parties to the dispute—that they are

  unable to resolve a dispute regarding the initial drafting of a protective order, the parties involved

  in the dispute shall file a joint letter in substantially the following form:

                                  Dear Judge Burke:

                                  The parties in the above-referenced matter write to request the
                                  scheduling of a teleconference to resolve a protective order dispute.

                                  The following attorneys, including at least one Delaware Counsel
                                  and at least one Lead Counsel per party, participated in a verbal
                                  meet-and-confer (in person and/or by telephone) on the following
                                  date(s):

                                  Delaware Counsel:

                                  Lead Counsel:

                                  The disputes requiring judicial attention are listed below:

                                  [provide here a non-argumentative list of disputes requiring judicial
                                  attention]

                          (vii)   The parties shall also file a “Joint Motion For Teleconference To

  Resolve Protective Order Dispute.” The suggested text for this motion can be found in Judge

  Burke’s section of the Court’s website, in the “Forms” tab, under the heading “Discovery Matters

  - Joint Motion to Resolve Protective Order Dispute.”


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                            (viii) The Court will thereafter set a protective order dispute

  teleconference and a briefing schedule. Along with their respective letter briefs, each side should

  include as an attachment the side’s proposal as to how the content of the disputed portion(s) of the

  protective order should read. The parties shall also comply with paragraph 5 regarding the

  submission of courtesy copies; if they fail to do so, the telephone conference may be cancelled.

                            (ix)   Should the Court find further briefing necessary upon the conclusion

  of the telephone conference, the Court will order it. Alternatively, the Court may choose to resolve

  the dispute prior to the telephone conference and will, in that event, cancel the conference.

           8.        Motions to Amend.

                     (a)    Any motion to amend a pleading shall NOT be accompanied by an opening

  brief but shall, instead, be accompanied by a letter, not to exceed three (3) single-spaced pages,

  describing the basis for the requested relief, and shall attach the proposed amended pleading as

  well as a “blackline” comparison to the prior pleading.

                     (b)    Within seven (7) days after the filing of a motion in compliance with this

  Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5) single-

  spaced pages.

                     (c)    Within three (3) days thereafter, the moving party may file a reply letter,

  not to exceed two (2) single-spaced pages, and, by this same date, the parties may file a letter

  requesting a teleconference to address the motion to amend.

           9.        Motions to Strike.

                     (a)    Any motion to strike any pleading or other document or testimony shall

  NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter, not to




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  exceed three (3) single-spaced pages, describing the basis for the requested relief, and shall attach

  the document to be stricken.

                     (b)   Within seven (7) days after the filing of a motion in compliance with this

  Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5) single-

  spaced pages.

                     (c)   Within three (3) days thereafter, the moving party may file a reply letter,

  not to exceed two (2) single-spaced pages, and, by this same date, the parties may file a letter

  requesting a teleconference to address the motion to strike.

           10.       Motions to Stay.

                     (a)   Any motion to stay shall NOT be accompanied by an opening brief but

  shall, instead, be accompanied by a letter, not to exceed three (3) single-spaced pages, describing

  the basis for the requested relief.

                     (b)   Within seven (7) days after the filing of a motion in compliance with this

  Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5) single-

  spaced pages.

                     (c)   Within three (3) days thereafter, the moving party may file a reply letter,

  not to exceed two (2) single-spaced pages, and, by this same date, the parties may file a letter

  requesting a teleconference to address the motion to stay.

           11.       Tutorial Describing the Technology and Matters in Issue. The parties may

  (though they are not required to) provide the Court, no later than the date on which the Joint Claim

  Construction Brief is due, with a tutorial on the technology at issue. Any party intending to submit

  a tutorial shall notify the other party at least twenty-eight (28) days prior to the due date to submit

  the tutorial. In this regard, the parties may separately submit a DVD/flash drive containing a


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  tutorial that is not more than 30 minutes in length. The tutorial should focus on the technology at

  issue and should not be used to argue claim construction contentions. The parties may choose to

  file their tutorial(s) under seal, subject to any protective order in effect. Each party may comment,

  in writing (in no more than 5 pages) on the opposing party’s tutorial. Any such comment shall be

  filed no later than seven days after the Joint Claim Construction Brief is due. As to the format

  selected, the parties should confirm the Court’s technical abilities to access the information

  contained in the tutorial.

           12.       Claim Construction Issue Identification. On December 6, 2024, the parties shall

  exchange a list of those claim term(s)/phrase(s) that they believe need construction and their

  proposed claim construction of those term(s)/phrase(s). On December 13, 2024, the parties shall

  exchange responsive proposed constructions. This document will not be filed with the Court.

  Subsequent to exchanging that list, the parties will meet and confer to prepare a Joint Claim

  Construction Chart to be filed with the Court on January 9, 2025. The Joint Claim Construction

  Chart,     in      Word    format,   shall   be    e-mailed     simultaneously      with    filing   to

  Deborah_Benyo@ded.uscourts.gov. The parties’ Joint Claim Construction Chart should identify

  for the Court the term(s)/phrase(s) of the claim(s) in issue, and should include each party’s

  proposed construction of the disputed claim language with citation(s) only to the intrinsic evidence

  in support of their respective proposed constructions. A copy of the patent(s) at issue as well as

  those portions of the intrinsic record relied upon shall be submitted with this Joint Claim

  Construction Chart. In this joint submission, the parties shall not provide argument. Each party

  shall file concurrently with the Joint Claim Construction Chart a “Motion for Claim Construction”

  that requests the Court to adopt the claim construction position(s) of that party set forth in the Joint

  Claim Construction Chart. The motion shall not contain any argument and shall simply state that


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  the party “requests that the Court adopt the claim construction positions of [the party] set forth in

  the Joint Claim Construction Chart (D.I. [ ]).”

           13.       Claim Construction Briefing. RE Secured shall serve, but not file, its opening

  brief, not to exceed 20 pages, on claim construction on or before February 18, 2025. Omnivision

  shall serve, but not file, its answering claim construction brief, not to exceed 30 pages, on or before

  March 11, 2025. RE Secured shall serve, but not file, its reply brief, not to exceed 20 pages, on or

  before March 24, 2025. Omnivision shall serve, but not file, its sur- reply brief, not to exceed 10

  pages, on or before March 31, 2025. No later than April 4, 2025, the parties shall file a Joint Claim

  Construction Brief. The parties shall copy and paste their unfiled briefs into one brief, with their

  positions on each claim term in sequential order, in substantially the form below:

  I. Agreed-upon Constructions

  II. Disputed Constructions

  A. [TERM 1]
                     1.     RE Secured’s Opening Position
                     2.     Omnivision’s Answering Position
                     3.     RE Secured’s Reply Position
                     4.     Omnivision’s Sur-Reply Position

  B. [TERM 2]
                     1.     RE Secured’s Opening Position
                     2.     Omnivision’s Answering Position
                     3.     RE Secured’s Reply Position
                     4.     Omnivision’s Sur-Reply Position


  The parties need not include any general summaries of the law relating to claim construction. If

  there are any materials that would be submitted in an appendix, the parties shall file them in a joint

  appendix.

           14.       Hearing on Claim Construction. Beginning at 10:00 a.m. on April 24, 2025, the

  Court will hear argument on claim construction. The parties shall notify the Court, by joint letter

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  submission, no later than the date on which the Joint Claim Construction Brief is due: (i) whether

  they request leave to present testimony at the hearing; (ii) the amount of time they are requesting

  be allocated to them for the hearing; and (iii) the order in which they intend to present the claim

  terms at issue, including which side will present first for each term. Provided that the parties

  comply with all portions of this Scheduling Order, and any other orders of the Court, the Court

  will endeavor to issue its claim construction order within sixty (60) days of the conclusion of the

  claim construction hearing.

           15.       Interim Status Report. On October 6, 2025, counsel shall file a joint letter with

  the Court with an interim report on the nature of the matters in issue and the progress of discovery

  to date. Thereafter, if the Court deems it necessary, it will schedule a status conference.

           16.       Supplementation. Absent agreement among the parties, and approval of the Court,

  no later than July 29, 2025, RE Secured must finally supplement, inter alia, the identification of

  all accused products and, no later than August 26, 2025, Omnivision must finally supplement, inter

  alia, the identification of all invalidity references.

           17.       Case Dispositive Motions.

                     (a)    All case dispositive motions, an opening brief, and affidavits, if any, in

  support of the motion shall be served and filed on or before February 19, 2026. All responses shall

  be served and filed on or before March 12, 2026. All replies shall be served and filed on or before

  March 26, 2026. Briefing will be presented pursuant to the Court’s Local Rules, as modified by

  this Order.

                     (b)    No early motions without leave. No case dispositive motion under Rule 56

  may be filed more than ten (10) days before the above date without leave of the Court. A party

  seeking leave to file a case dispositive motion prior to ten (10) days before the deadline set forth


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  above shall do so by filing a motion and an accompanying letter brief with the Court of no more

  than four (4) single-spaced pages, explaining the reasons why an earlier-filed motion should be

  permitted. If any party wishes to contest this request, it may do so by filing a responsive letter brief

  of no more than four (4) single-spaced pages, within seven (7) days from the date the requesting

  party filed its brief. No reply briefs shall be filed.

                     (c)   Concise Statement of Facts Requirement.          Any motion for summary

  judgment shall be accompanied by a separate concise statement, not to exceed six pages, which

  details each material fact that the moving party contends is essential for the Court’s resolution of

  the summary judgment motion (not the entire case) and as to which the moving party contends

  there is no genuine issue to be tried. Each fact shall be set forth in a separate numbered paragraph

  and shall be supported by specific citation(s) to the record.

           Any party opposing the motion shall include with its opposing papers a response to the

  moving party’s concise statement, not to exceed six pages, which admits or disputes the facts set

  forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the extent a

  fact is disputed, the basis of the dispute shall be supported by specific citation(s) to the record.

  Failure to respond to a fact presented in the moving party’s concise statement of facts shall indicate

  that fact is not in dispute for purposes of summary judgment. The party opposing the motion may

  also include with its opposing papers a separate concise statement, not to exceed four pages, which

  sets forth material facts as to which the opposing party contends there is a genuine issue to be tried.

  Each fact asserted by the opposing party shall also be set forth in a separate numbered paragraph

  and shall be supported by specific citation(s) to the record.




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                     (d)    The moving party shall include with its reply papers a response to the

  opposing party’s concise statement of facts, not to exceed four pages, on a paragraph-by- paragraph

  basis.

                     (e)    Page limits combined with Daubert motion page limits. Each party is

  permitted to file as many case dispositive motions as desired; provided, however, that each SIDE

  will be limited to a combined total of 40 pages for all opening briefs, a combined total of 40 pages

  for all answering briefs, and a combined total of 20 pages for all reply briefs regardless of the

  number of case dispositive motions that are filed. In the event that a party files, in addition to a

  case dispositive motion, a Daubert motion to exclude or preclude all or any portion of an expert’s

  testimony, the total amount of pages permitted for all case dispositive and Daubert motions shall

  be increased to 50 pages for all opening briefs, 50 pages for all answering briefs, and 25 pages for

  all reply briefs for each SIDE.1

                     (f)    Hearing. The Court will hear argument on all pending case dispositive and

  Daubert motions on May ___, 2026, beginning at _______.

           18.       Motions in Limine. Motions in limine shall not be separately filed. All in limine

  requests and responses thereto shall be set forth in the proposed pretrial order. Each side shall be

  limited to three in limine requests, unless otherwise permitted by the Court. The in limine request

  and any response shall contain the authorities relied upon. Each in limine request may be supported

  by a maximum of three pages of argument, may be opposed by a maximum of three pages of

  argument, and the side making the in limine request may add a maximum of one additional page



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     The parties must work together to ensure that the Court receives no more than a total of 250
  pages (i.e., 50 + 50 + 25 regarding one side’s motions, and 50 + 50 + 25 regarding the other side’s
  motions) of briefing on all case dispositive motions and Daubert motions that are covered by this
  scheduling order and any other scheduling order entered in any related case that is proceeding on
  a consolidated or coordinated pretrial schedule.
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  in reply in support of its request. If more than one party is supporting or opposing an in limine

  request, such support or opposition shall be combined in a single three page submission (and, if

  the moving party, a single one page reply), unless otherwise ordered by the Court. No separate

  briefing shall be submitted on in limine requests, unless otherwise permitted by the Court.

           19.       Pretrial Conference. On July ___, 2026, the Court will hold a pretrial conference in

  Court with counsel beginning at ________. Unless otherwise ordered by the Court, the parties

  should assume that filing the pretrial order satisfies the pretrial disclosure requirement of Federal

  Rule of Civil Procedure 26(a)(3). The parties shall file with the Court the joint proposed final

  pretrial order in compliance with Local Rule 16.3(c) not later than seven days before the pretrial

  conference. Unless otherwise ordered by the Court, the parties shall comply with the timeframes

  set forth in Local Rule 16.3(d)(1)-(3) for the preparation of the joint proposed final pretrial order.

  The proposed final pretrial order shall contain a table of contents. The parties shall provide the

  Court two double-sided courtesy copies of the joint proposed final pretrial order and all

  attachments.

           20.       Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be tried

  to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1, the parties should file (i) proposed voir dire,

  (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms seven

  days before the final pretrial conference. This submission shall be accompanied by a courtesy copy

  containing electronic files of these documents in Microsoft Word format, which should be

  submitted by e-mail to jlh_civil@ded.uscourts.gov.

           21.       Trial. This matter is scheduled for a 5-day jury trial beginning at 9:30 a.m. on

  August ___, 2026, with the subsequent trial days beginning at 9:00 a.m. Until the case is submitted




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  to the jury for deliberations, the jury will be excused each day at 5:00 p.m. The trial will be timed,

  and counsel will be allocated a total number of hours in which to present their respective cases.

           22.       Post-Trial Motions. The parties should address the post-trial briefing schedule and

  page limits in the proposed final pretrial order.

                                                           Christopher J. Burke
                                                           UNITED STATES MAGISTRATE JUDGE




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                                Chart of All Relevant Deadlines

                             EVENT                                         DEADLINE

   Parties Submit Proposed Protective Order                         Within 14 days from date of
                                                                    Scheduling Order
   Rule 26(a)(1) Disclosures and Paragraph 3 Default Standard       Within 30 days from date of
   Initial Disclosures                                              Scheduling Order
   RE Secured Submits Proposed Order re: Disclosure of Licenses     July 22, 2024
   and/or Settlement Agreements (If Needed)
   Identification of the Accused Product(s), Asserted Patent(s),    August 5, 2024
   Damages Model, and Accompanying File History Production
   Omnivision Production of Core Technical Documents and Sales      September 3, 2024
   Figures for Accused Product(s)
   RE Secured Disclosure of Initial Infringement Claim Charts       October 4, 2024
   Omnivision Disclosure of Initial Invalidity Contentions and      November 5, 2024
   Production of References
   Parties Exchange List Identifying Terms for Construction,        December 6, 2024
   Their Proposed Constructions, and Supporting Intrinsic
   Evidence
   Parties Exchange Responsive Proposed Constructions and           December 13, 2024
   Supporting Intrinsic Evidence
   Parties Submit Joint Claim Chart                                 January 9, 2025
   Deadline to Amend or Supplement the Pleadings                    January 10, 2025
   RE Secured Opening Claim Construction Brief Served               February 18, 2025
   Deadline for Any Party Intending to Submit a Tech Tutorial to    March 7, 2025
   Notify the Other Party
   Omnivision Answering Claim Construction Brief Served             March 11, 2025
   RE Secured Reply Claim Construction Brief Served                 March 24, 2025
   Omnivision Sur-Reply Claim Construction Brief Served             March 31, 2025
   Parties File Joint Claim Construction Brief                      April 4, 2025
   Parties Submit Tech Tutorial (If Desired)                        April 4, 2025
   Comments on Other Parties’ Tech Tutorial Due                     April 11, 2025
   Claim Construction Hearing                                       April 24, 2025 at 10:00 a.m.
   Substantial Completion of Document Production                    May 8, 2025
   RE Secured Final Infringement Contentions                        July 29, 2025
   RE Secured’s Final Identification of All Accused Products        July 29, 2025
   Omnivision Final Invalidity Contentions                          August 26, 2025
   Omnivision’s Final Identification of All Invalidity References   August 26, 2025
   Close of Fact Discovery                                          September 30, 2025
   Parties Submit Interim Status Report                             October 6, 2025
   Opening Expert Reports From the Party Who Has the Initial        October 29, 2025
   Burden of Proof
   Rebuttal Expert Reports To Contradict or Rebut Evidence on       November 24, 2025
   the Same Matter Identified By Another Party

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   Reply Expert Reports From the Party with the Initial Burden of   December 17, 2025
   Proof
   Close of Expert Discovery                                        January 23, 2026
   Parties Submit Opening Brief for Case Dispositive Motions and    February 19, 2026
   Daubert Motions
   Parties Submit Response Brief for Case Dispositive Motions       March 12, 2026
   and Daubert Motions
   Parties Submit Reply Brief for Case Dispositive Motions and      March 26, 2026
   Daubert Motions
   Hearing on Case Dispositive Motions and Daubert Motions          May _, 2026 at _____
   Parties Submit Joint Pretrial Order                              Seven days prior to pretrial
                                                                    conference
   Pre-Trial Conference                                             July _, 2026 at ____
   Trial                                                            August __, 2026




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